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 1   endanger the safety of any other person or the community if released [18 U.S.C.
 2   § 3142(b-c)].
 3         This finding is based on:
 4            ‫ ܈‬Allegations in the petition that after Defendant was released from
 5            custody on the sentence imposed in the instant case, he entered the
 6            United States illegally and was arrested (1) in 2019 in Arizona for
 7            driving with a suspended license under the false name that underlies his
 8            conviction in the instant case for false statement in a passport application,
 9            and (2) in 2020 in Texas for driving while intoxicated and having an
10            open container, under that same false name.
11            ‫ ܈‬Defendant was arrested in October 2014 in California for driving
12            under the influence.
13            ‫ ܈‬Defendant has previously been deported.
14            ‫ ܈‬Defendant’s lack of candor with the Court, combined with the instant
15            allegations that Defendant violated conditions set by the sentencing
16            Court.                               III.
17         IT IS THEREFORE ORDERED that the defendant is remanded to the custody
18   of the U.S. Marshal pending further proceedings in this matter.
19
     Dated: October 14, 2020
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21                                             PATRICIA DONAHUE
22                                              PATRICIA DONAHUE
                                            UNITED STATES MAGISTRATE JUDGE
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